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                               UNITED STATES DISTRICT COURT
                                DISTRICT OF MASSACHUSETTS

  UNITED STATES OF AMERICA                       )
                                                 )
                          v.                     )
                                                 )
  (1) JOSE LARIOS,                               )        Case No. 21-CR-10118-IT
  (2) RAFAEL TORRES, and                         )
  (5) XINGRONG WU, a/k/a “Danny,”                )
                                                 )
                          Defendants.            )


   GOVERNMENT’S MOTION PURSUANT TO UNITED STATES V. RENGIFO
REGARDING ENGLISH-LANGUAGE TRANSLATIONS OF SPANISH RECORDINGS

       The United States of America, by its undersigned attorneys, respectfully moves for leave

to introduce into evidence at trial (1) copies of original recordings of the defendants, Jose Larios,

and Rafael Torres, which are in Spanish; (2) copies of original recordings of coconspirators

Alejandro LNU, Marco Jauregui, and Jose Vega-Aponte, which are in Spanish; (3) copies of text

messages and voice notes from the defendants’ and co-conspirators’ telephones, which are in

Spanish; and (4) English translations of those recordings and messages. The government further

requests leave to read into evidence all or part of the English translations.

       As grounds for the motion, the government states as follows:

       In United States v. Rengifo, the First Circuit Court of Appeals held that a properly

authenticated transcript of a foreign-language recording may be admitted as substantive evidence

and provided to the jurors during deliberations. 789 F.2d 975, 983 (1st Cir. 1986). The First

Circuit further held that the government’s use of readers to read the transcripts, rather than play

the recordings, “[does] not change the essential nature of the transcript evidence” and is therefore

permissible. Id.
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       The government has prepared English translations of these recordings and messages and

has provided those translations to defense counsel. If necessary, the government will introduce

evidence at trial concerning the authenticity of the recordings and the accuracy of the translations.

       The government respectfully requests that its motion for leave to introduce into evidence

at trial copies of the Spanish-language recordings and the English translations of those recordings,

and to read into evidence all or part of the English transcripts, be allowed.



                                                      Respectfully submitted,


                                                      JOSHUA S. LEVY
                                                      Acting United States Attorney

                                              By: /s/ Stephen W. Hassink
                                                  Leah B. Foley
                                                  Stephen W. Hassink
                                                  Assistant United States Attorneys
Date: June 20, 2023



                                 CERTIFICATE OF SERVICE


        I hereby certify that this document filed through the ECF system will be sent electronically
to the registered participants as identified on the Notice of Electronic Filing (NEF) and paper
copies will be sent to those indicated as non-registered participants.


                                              /s/ Stephen W. Hassink
                                              Stephen W. Hassink
                                              Assistant United States Attorney


Date: June 20, 2023




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